                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:10-00065
                                                )           JUDGE CAMPBELL
QUINCY MAURICE FUQUA                            )
VICTOR L. OWENS                                 )

                                            ORDER

       Pending before the Court are Motions To Sever (Docket Nos. 204, 210) filed by each

Defendant. The parties presented the Motions at the Pretrial Conference held on November 28,

2012. At the Conference, the Court ordered the Government to file a list of specific questions it

intended to ask CW1 at the trial regarding statements made to him by Defendant Owens. The

Government has now filed the list of proposed questions. (Docket No. 215).

       Based on the Government’s list of proposed questions, the Court concludes the

Defendants should be severed for trial based on Bruton v. United States, 391 U.S. 123, 88 S.Ct.

1620, 20 L.Ed.2d 476 (1968). Given the nature of the proposed questions, the Bruton

confrontation problem cannot be resolved through redaction of Defendant Owens’ statements.

Accordingly, the Motions To Sever (Docket Nos. 204, 210) are GRANTED.

       Defendant Fuqua will be tried as scheduled on December 4, 2012, as agreed by the

parties at the Pretrial Conference. The trial for Defendant Owens will be set by

contemporaneous order.

       It is so ORDERED.



                                                    _________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE



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